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                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   JENNY LISETTE FLORES; et al.,                Case No. CV 85-4544-DMG
17
              Plaintiffs,
18
                                                  JOINT STATUS REPORT
19
                   v.

20   WILLIAM P. BARR, Attorney General
21
     of the United States; et al.,

22
              Defendants.
23

24

25

26
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 1
           On April 24, 2020, the Court ordered the parties to continue to meet and confer
 2
     regarding “the quality of the data that Defendants provide to Class Counsel pursuant
 3
     to Paragraph 28A of the FSA[]” and to provide a status report on those meet and
 4
     confer efforts no later than June 15, 2020. Order, ECF No. 784, ¶ 5. On May 22,
 5
     2020, the Court ordered the parties to meet and confer regarding “the adoption and
 6
     implementation of proper written advisals and other protocols to inform detained
 7
     guardians about minors’ rights under the FSA and obtain information regarding
 8
     available sponsors” and to provide a joint status report regarding these efforts to
 9
     meet and confer no later than June 15, 2020. Order, ECF No. 799, ¶ 3. In accordance
10
     with the Court’s orders, the parties provide the following joint status report.
11
        (1) The quality of the data that Defendants provide to Class Counsel pursuant to
12
            Paragraph 28A of the FSA
13
           The parties met and conferred by phone on May 1, 2020. The discussions
14
     included Plaintiffs’ attorneys and data experts as well as attorneys and data operators
15
     from the U.S. Department of Health and Human Services (“HHS”), U.S.
16
     Immigration and Customs Enforcement (“ICE”), and U.S. Customs and Border
17
     Protection (“CBP”). Following these discussions, HHS, ICE, and CBP data
18
     operators conferred and collectively made additional updates and changes to the
19   reporting that was already being provided on a monthly basis in an effort to respond
20   to Plaintiffs’ concerns. Today, Defendants have provided to Class Counsel the May
21   2020 reporting, and those reports reflect changes made based on the parties’ meet
22   and confer discussions. Plaintiffs will notify Defendants of any concerns they may
23   have regarding the data production on or before June 24, 2020. The parties will
24   thereafter promptly meet and confer regarding any such concerns.
25         The parties recommend that they file a further joint status report on this issue
26   on or before July 8, 2020.


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 1         (2) The adoption and implementation of proper written advisals and other
 2             protocols to inform detained guardians about minors’ rights under the FSA
               and obtain information regarding available sponsors
 3

 4            The parties held an initial meet and confer by phone on this issue on June 11,

 5   2020. In preparation for that call, each side prepared and exchanged draft documents.
 6
     On the June 11, 2020, call, the parties discussed a possible framework for the process
 7

 8
     of providing notice to class members’ parents and obtaining waivers and/or consents.

 9   The parties agreed that Plaintiffs will review a draft “Questionnaire” document
10
     provided by Defendants, and will provide comments or proposed edits to that
11

12
     document to Defendants on or before June 26, 2020. Defendants likewise will

13   provide comments or proposed edits to the materials provided by Plaintiffs on or
14
     before June 26, 2020. The parties will schedule a follow up meet and confer call to
15
     take place on or before July 2, 2020.
16

17            The parties propose that they file a further joint status report on or before July
18
     8, 2020.
19
     ///
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 1   DATED: June 15, 2020             /s/Peter Schey (with permission)
 2                                    Class Counsel for Plaintiffs
                                      CENTER FOR HUMAN RIGHTS &
 3                                    CONSTITUTIONAL LAW
 4                                    Peter A. Schey
                                      Carlos Holguín
 5

 6   DATED: June 15, 2020             JOSEPH H. HUNT
                                      Acting Assistant Attorney General
 7                                    Civil Division
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                                      /s/ Sarah B. Fabian
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 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on June 15, 2020, I served the foregoing pleading on all

 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7
                                                  /s/ Sarah B. Fabian
 8                                                SARAH B. FABIAN
 9
                                                  U.S. Department of Justice
                                                  District Court Section
10                                                Office of Immigration Litigation
11
                                                  Attorney for Defendants
12

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